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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

        Plaintiff,
                                                                       Hon. Robert J. Jonker
 v.
                                                                       Case No. 1:20-cr-00183
 ADAM DEAN FOX,
 BARRY GORDON CROFT, JR.,
 DANIEL JOSEPH HARRIS,
 BRANDON MICHAEL-RAY CASERTA,

        Defendants.
 ________________________________/

                                             ORDER

       This matter is before the Court on Defendant Fox’s Motion in Limine for Order for

Production of Information Regarding Confidential Human Sources (ECF No. 493) and Defendant

Croft’s Motion for Joinder in ECF No. 493 (ECF No. 502). Defendant Croft’s Motion for Joinder

in ECF No. 493 (ECF No. 502) is granted. After a hearing held March 4, 2022, the motion (ECF

No. 493) is denied without prejudice in part and denied in part as moot.

       Defendants Fox and Croft seek production from the government of information related to

three confidential human sources: (1) CHS 99252 (Dan), (2) CHS 97067 (Steve), and (3) CHS

99802 (Jenny). For each of these individuals, Defendants request that the government produce any

records of compensation or reimbursement paid by the government to each informant, as well as

any admonishments, agreements, or other non-monetary consideration that was provided to the

informants as a result of their activities as undercover informants.
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       As to CHS 99252 (Dan), the only informant of the three that the government intends to call

in its case in chief, the government represented that the materials sought would be produced today.

Thus, as to that witness, the motion is denied as moot.

       As to the other two informants, the government represents that it does not intend to call

them as witnesses. Therefore, it argues, it has no obligation to produce their informant files.

Nonetheless, it has agreed to produce a portion of the informant file for CHS 97067 (Steve).

       Defendant Fox argues that the government is required to produce impeachment material,

regardless of who calls the witness because impeachment information is a subset of Brady material.

Defendant Fox cites United States v. Bagley, 473 U.S. 667, 676 (1985), for the proposition that

impeachment material is material covered by Brady v. Maryland, 373 U.S. 83, 87 (1963). While

Defendant is correct that Bagley states that impeachment evidence “falls within the Brady rule,”

that case involved the prosecution’s failure to produce impeachment evidence for its own

witnesses. 473 U.S. at 677. That is consistent with the Supreme Court’s holding in Giglio v. United

States, 405 U.S. 150, 154 (1972).

       Where the defense calls the witness, however, the government does not have a general

obligation to provide impeachment material related to that witness. United States v. Kimley, 60 F.

App’x 369, 371 (3d Cir. 2003) (“There is no requirement that the government must disclose to the

defense that material which would allow the defendant to impeach his own witness.”), citing

Giglio, 405 U.S. at 154-55; United States v. Garcia-Martinez, 730 F. App’x 665, 678 (10th Cir.

2018) (finding defendant “has not cited any controlling precedent, and we are not aware of any,

that would have obliged the government under Brady to disclose information that is exculpatory—

in a purely impeachment sense—with respect to a defense witness.”); cf. In re Sealed Case No.

99-3096, 185 F.3d 887, 893 (D.C. Cir. 1999) (“In the usual case there is a conceptual difference

between the impeachment of a government witness and the impeachment of a defense witness.
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Evidence that impeaches the former is almost invariably ‘favorable’ to the accused, because by

making the government’s case less credible it enhances the defendant’s chances of acquittal.

Evidence that impeaches a defense witness, by contrast, is not generally favorable to the accused;

by reducing the credibility of the defendant’s own witness, such impeachment reduces the

probability that he will obtain a not guilty verdict. It is ordinarily the prosecutor rather than defense

counsel who wants to use the latter kind of evidence....”); see also United States v. Johnson, 581

F.3d 320, 331 (6th Cir. 2009) (prosecutor has a duty to disclose Brady material, which “extends to

impeachment evidence, but only if the evidence is favorable to the accused in the sense that it

would allow him to impeach government witnesses”). Defendants cite United States v. Thomas,

2016 WL 6948444, *4 (C.D. Ill. Nov. 28, 2016), for the proposition that “Giglio extended Brady

disclosures to credibility evidence about any witness in the case.” However, Giglio did not reach

the issue of whether the prosecution is required to produce evidence relating to the impeachment

of a defense witness. 405 U.S. at 154. And as noted above, other courts have held it did not.

Moreover, the Thomas court went on to note that the evidence would have to meet a Brady standard

of materiality “such as when a witness’s credibility is an important issue in the case because the

witness offers key testimony,” and the court “question[ed] whether any evidence contained in the

file, whether negative or bolstering, could meet the standard of materiality if the informant testified

only for Defendant.” Thomas, 2016 WL 6948444, *4. For these reasons, among others, that

decision is not persuasive on the issue.

        Defendant Croft makes a more nuanced argument: that the informant files are corroborative

of the defense theory of the case, rather than merely impeachment. Essentially, he argues that

evidence (1) regarding how much the informants were paid and when and (2) admonishments not

to disclose information to others about the case, may provide affirmative evidence that the



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government paid informants to fabricate evidence of the defendants’ guilt.1 In addition, Defendant

Fox suggests that CHS 97067 and CHS 99802 constructed a fictional National Patriot III% Militia

and made him the leader of it. Defendants cannot state with certainty, however, how these

witnesses will testify if called at trial.

        Defendant Croft cites In re Sealed Case No. 99-3096, for the proposition that the

government may be required under Brady to produce evidence relating to payments and benefits

received by a defense witness. 185 F.3d at 893-94. In that case, the informant had revealed himself

to defense counsel and admitted planting evidence in the defendant’s home, stating that he was

cooperating with police to work off local charges. That made his cooperation agreement relevant.

In other words, the prospective witness was offering affirmative evidence of guilt, and the defense

request was not entirely speculative. Id. Here, the defense argues that, analogously, these two

informants manufactured evidence of the Defendants’ guilt, essentially planting the evidence. It

follows, they argue, that the contents of their informant files are corroboration of the defense theory

of the case, not impeachment evidence.

        The holding in Brady v. Maryland requires disclosure of evidence that is both favorable to

the accused and “material either to guilt or punishment.” 373 U.S. at 87. It remains unclear at this

stage whether the information Defendants seek from the government meets that standard. Before

the introduction of any proofs at trial and without a more concrete proffer of evidence from

Defendants, it is not clear how that would be so. For example, the argument that one of the



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  Although the government has produced evidence regarding compensation CHS 97067 received,
the defense argues it is entitled to additional information that the government has not produced,
including dates and amounts of individual payments and reimbursements. In addition, the
government has disclosed the existence of a document CHS 97067 signed in December 2020 (after
the arrests in this case) informing him that information related to the case was confidential. The
Court has reviewed that document in camera. As with other disputed materials, it will reserve
judgment on relevance and materiality until after the proofs are developed at trial.
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informants the defense plans to call as a witness created a militia meeting and then made it look

like Defendants planned it (one of the theories offered at the hearing on this motion) may have

some relevance at trial, but the initiation of a meeting at the outset of the conspiracy is unlikely to

be particularly relevant where the Defendants’ own statements are the central evidence of the

conspiracy to commit kidnapping. Likewise, it is unclear what relevance Defendant Fox’s status

as the leader of the National Patriot III% Militia has to the case.

       Until the proofs are developed at trial, Defendants’ arguments remain speculative. The

Brady rule is not an evidentiary rule that grants broad discovery, and there is no general

constitutional right to discovery in a criminal case. United States v. Driscoll, 970 F.2d 1472, 1482

(6th Cir. 1992) (abrogated, in part, on other grounds by Hampton v. United States, 191 F.3d 695

(6th Cir. 1999)). And mere speculation that information in a government file will constitute Brady

material is not sufficient to require in camera review or production. Id.; see also Pennsylvania v.

Ritchie, 480 U.S. 39, 59 (1987). Nonetheless, based on the record before the Court, it cannot be

ruled out that some or all of the information in the informants’ files will be material and favorable

to the accused. Therefore, the motion is denied without prejudice.

       Defendants argue that waiting to receive the information they seek until mid-trial will

prejudice their ability to provide a defense at trial. However, the government has represented that

the materials it has for CHS 97067 and CHS 99802 are not copious and can be reviewed in a

manner of minutes, not hours, such that there is no prejudice to Defendants in waiting to determine

if the materials should be produced based on the development of the proofs at trial.

       IT IS SO ORDERED.

Dated: March 4, 2022                                            /s/ Sally J. Berens
                                                               SALLY J. BERENS
                                                               U.S. Magistrate Judge


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